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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8   Stenson Tamaddon LLC ,                   )    No. CV- 24-01123-PHX-SPL
                                              )
 9                                            )
                        Plaintiff,            )    ORDER
10   vs.                                      )
                                              )
11                                            )
     United States Internal Revenue           )
12   Service, et al.,                         )
                                              )
13                                            )
                        Defendant(s).         )
14
15          Before the Court is the parties’ Joint Stipulation (Doc. 30), in which they move for
16   an extension of the deadline for Defendants to file an answer to the Complaint. Having
17   considered this first request,
18          IT IS ORDERED that the Joint Stipulation (Doc. 30) is granted. Defendants
19   United States Internal Revenue Service, et al. shall have until August 23, 2024, to file an
20   answer to the Complaint and otherwise respond as provided by Rule 12 of the Federal
21   Rules of Civil Procedure.
22          Dated this 22nd day of July, 2024.
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25                                                     Honorable Steven P. Logan
                                                       United States District Judge
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